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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   MICHAEL FRIDMAN, individually and on               Case No.
   behalf of all others similarly situated,

                       Plaintiff,                     CLASS ACTION

                           v.                         DEMAND FOR JURY TRIAL
   NELNET, INC., a Nebraska corporation,

                       Defendant.


             CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff Michael Fridman brings this class action against Nelnet, Inc. under the

 Telephone Consumer Protection Act and Florida Consumer Collection Practices Act to stop

 Nelnet’s practice of sending false and unauthorized debt collection text messages to consumers,

 and to obtain redress for all persons similarly injured by Nelnet’s conduct. Plaintiff alleges as

 follows upon personal knowledge as to himself and his own acts and experiences, and, as to all

 other matters, upon information and belief, including investigation conducted by his attorneys.

                                    NATURE OF THE ACTION

        1.      Defendant Nelnet is the largest servicer of student loans in the United States,

 servicing more than 40% of all outstanding student loan debt.

        2.      This case challenges Nelnet’s practice of sending text messages demanding

 payment of student loans to individuals who do not actually owe any money on student loans

 serviced by Nelnet.

        3.      Nelnet’s texts violate the Telephone Consumer Protection Act, 47 U.S.C. § 227

 (“TCPA”), because they are unauthorized.

        4.      Nelnet’s texts also violate the Florida Consumer Collection Practices Act, Fla.


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 Stat. § 559.72 (“FCCPA”), because they are a deceiving attempt by Nelnet to collect student loan

 debt that it knows is not legitimate and because they give the appearance of being authorized by

 the federal government which contracts with Nelnet to accurately and fairly service federal

 student loans.

        5.        Nelnet’s false and unsolicited debt collection texts caused Plaintiff and putative

 members of the Classes to suffer actual harm, including the harassment, aggravation, nuisance,

 loss of time, and invasions of privacy that result from the receipt of such unsolicited and false

 text messages, lost value of cellular services paid for, and a loss of the use and enjoyment of their

 phones, including wear and tear to their phones’ data, memory, software, hardware, and battery

 components, among other harms.

        6.        Accordingly, Plaintiff seeks an injunction requiring Nelnet to cease sending false

 and unsolicited debt collection text messages to consumers, as well as an award of actual and/or

 statutory damages, punitive damages, attorneys’ fees, and costs.

                                               PARTIES

        7.        Plaintiff Michael Fridman is a Miami-Dade County resident.

        8.        Defendant Nelnet is a for-profit Nebraska corporation headquartered in Lincoln,

 Nebraska.

                                     JURISDICTION & VENUE

        9. This Court has federal question subject matter jurisdiction over this action pursuant to

 28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §

 227 (“TCPA”). This Court has supplemental jurisdiction over Plaintiff’s FCCPA claim pursuant

 to 28 U.S.C. § 1367(a), because the FCCPA claim arises out of the same facts and circumstances

 as Plaintiff’s TCPA claim.




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         10. The Court has personal jurisdiction over Defendant and venue is proper in this District

 because Defendant’s unauthorized collection efforts were directed by Defendant into this District,

 including to Plaintiff.

                                      FACTUAL ALLEGATIONS

         11.     Nelnet is the largest servicer of student loans in the United States, servicing over

 $500 billion of student loan debt.

         12.     Nelnet has not serviced any student loans for Plaintiff since at least March 2017.

         13.     Notwithstanding, on September 6, 2018 at 5:05 pm, Nelnet sent Plaintiff a

 deceptive text message to his cellular telephone number without his consent, demanding that he

 make a student loan payment within 5 days:




         14.     Nelnet’s false and unsolicited text was a nuisance that harassed and aggravated

 Plaintiff, made him uncertain of the status of his student loan debt and other obligations to the

 federal government and Nelnet, wasted his time, invaded his privacy, diminished the value of the

 cellular services he paid for, caused him to temporarily lose the use and enjoyment of his phone,

 and caused wear and tear to his phone’s data, memory, software, hardware, and battery

 components.

         15.     On information and belief, Nelnet, or a third-party acting on its behalf, has sent

 substantively identical false and unsolicited text messages en masse to the cellular telephone



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 numbers of other consumers nationwide that, at the time the text messages were sent, did not

 have student loans serviced by, and otherwise had no existing relationship with, Nelnet. To the

 extent the text messages were sent on Nelnet’s behalf, Nelnet provided the third-party access to

 consumers’ records, authorized use of its trade name, otherwise controlled the content of the

 messages, and knew of, but failed to stop, the sending of the text messages in violation of the

 TCPA and FCCPA.

        16.     In sending the unsolicited text messages at issue, Nelnet, or a third party acting on

 its behalf, utilized an automatic telephone dialing system; hardware and/or software with the

 capacity to store or produce cellular telephone number to be called, using a random or sequential

 number generator. This is evident from the circumstances surrounding the text messages,

 including the ability to trigger an automated response by replying “HELP,” their commercial and

 generic content, that substantively identical texts were sent to multiple recipients, and that they

 were sent from a short code, which is consistent with the use of an automatic telephone dialing

 system to send text messages.

        17.     Accordingly, Plaintiff brings this action pursuant to Federal Rule of Civil

 Procedure 23(b)(2) and Rule 23(b)(3) on behalf of himself and all others similarly situated, and

 seeks certification of the following Classes:

        TCPA Class: All persons who (1) on or after four years prior to the filing of the
        initial complaint in this action, (2) were sent a text message by or on behalf of
        Nelnet, (3) using an automatic telephone dialing system, (4) and from whom Nelnet
        (a) does not allege to have consent, or (b) alleges to have obtained consent in the
        same manner it alleges to have obtained consent from Plaintiff.

        FCCPA Class: All persons in Florida who (1) on or after two years prior to the
        filing of the initial complaint in this action, (2) were sent a text message by or on
        behalf of Nelnet, (3) demanding payment, and (4) and from whom no payment was
        actually due at the time the text message was sent.




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    18.     The following individuals are excluded from the Class: (1) any Judge or

 Magistrate presiding over this action and members of their families; (2) Defendant, its

 subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its

 parents have a controlling interest and their current or former employees, officers and

 directors; (3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely

 request for exclusion from the Class; (5) the legal representatives, successors or assigns

 of any such excluded persons; and (6) persons whose claims against Defendant have been

 fully and finally adjudicated and/or released. Plaintiff anticipates the need to amend the

 class definitions following appropriate discovery.

    19.     Numerosity: The exact size of the Classes is unknown and unavailable to Plaintiff at

 this time, but it is clear that individual joinder is impracticable. On information and belief,

 Defendant sent false and unsolicited text messages to thousands of individuals who fall into the

 Classes’ definitions. Class membership can be easily determined from Defendant’s records.

    20.     Typicality: Plaintiff’s claims are typical of the claims of the other members of the

 Classes. Plaintiff is a member of the Classes, and if Defendant violated the TCPA and FCCPA

 with respect to Plaintiff, then it violated the TCPA and FCCPA with respect to the other

 members of the Classes. Plaintiff and the Classes sustained the same damages as a result of

 Defendant’s uniform wrongful conduct.

    21.     Commonality and Predominance: There are many questions of law and fact

 common to the claims of Plaintiff and the Classes, and those questions predominate over any

 questions that may affect individual members of the Class. Common questions for the Classes

 include, but are not necessarily limited to the following:

                a)      How Defendant gathered, compiled, or obtained the cellular telephone
                        numbers of Plaintiff and the Classes;



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                b)      Whether the text messages were sent using an automatic telephone dialing
                        system;

                c)      Whether Defendant’s text messages were sent even though members of
                        the FCCPA Class did not have outstanding student loans;

                d)      Whether Defendant sent the text messages without the consent of Plaintiff
                        and the TCPA Class; and

                e)      Whether Defendant’s conduct was willful and knowing such that Plaintiff
                        and the Classes are entitled to treble and/or punitive damages.

    22.     Adequate Representation: Plaintiff will fairly and adequately represent and protect

 the interests of the Classes and has retained counsel competent and experienced in complex class

 actions. Plaintiff has no interest antagonistic to those of the Classes, and Defendant has no

 defenses unique to Plaintiff.

    23.     Policies Generally Applicable to the Classes: This class action is appropriate for

 certification because Defendant has acted or refused to act on grounds generally applicable to the

 Classes as a whole, thereby requiring the Court’s imposition of uniform relief to ensure

 compatible standards of conduct toward the members of the Classes, and making final injunctive

 relief appropriate with respect to the Classes as a whole. Defendant’s practices challenged herein

 apply to and affect the members of the Classes uniformly, and Plaintiff’s challenge of those

 practices hinges on Defendant’s conduct with respect to the Classes as a whole, not on facts or

 law applicable only to Plaintiff.

    24.     Superiority: This case is also appropriate for class certification because class

 proceedings are superior to all other available methods for the fair and efficient adjudication of

 this controversy given that joinder of all parties is impracticable. The damages suffered by the

 individual members of the Classes will likely be relatively small, especially given the burden and

 expense of individual prosecution of the complex litigation necessitated by Defendant’s actions.



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 Thus, it would be virtually impossible for the individual members of the Classes to obtain

 effective relief from Defendant’s misconduct. Even if members of the Classes could sustain such

 individual litigation, it would still not be preferable to a class action, because individual litigation

 would increase the delay and expense to all parties due to the complex legal and

 factual controversies presented in this case. By contrast, a class action presents far fewer

 management difficulties and provides the benefits of single adjudication, economy of scale, and

 comprehensive supervision by a single court.

                                 FIRST CAUSE OF ACTION
                                  Violation of 47 U.S.C. § 227
                           (On Behalf of Plaintiff and the TCPA Class)

     25.     Plaintiff repeats and realleges the allegations of paragraphs 1 through 24 of this

 complaint and incorporates them by reference.

     26.     Defendant and/or its agents agent transmitted text messages to cellular telephone

 numbers belonging to Plaintiff and the other members of the TCPA Class using equipment that,

 upon information and belief, had the capacity to store or produce telephone numbers to be called,

 using a random or sequential number generator.

     27.     These text messages were sent without the consent of Plaintiff and the other members

 of the TCPA Class.

     28.     Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii), and as a result

 Plaintiff and the TCPA Class are entitled to actual damages and/or statutory damages of up to

 $1,500 for each violation.




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                                 SECOND CAUSE OF ACTION
                                  Violation of Fla. Stat. § 559.72
                           (On Behalf of Plaintiff and the FCCPA Class)

    29.       Plaintiff repeats and realleges the allegations of paragraphs 1 through 24 of this

 complaint and incorporates them by reference.

    30.       Defendant and/or its agents agent transmitted text messages to Plaintiff and other

 members of the FCCPA Class claiming and attempting to enforce debts that Nelnet knew did not

 exist and or knew were not legitimate.

    31.       These false debt collection text messages also gave the appearance of being

 authorized, issued, and/or approved by the United States government and/or a government

 agency because Nelnet is one of only three servicers of student loan debt on behalf of the

 Department of Education.

    32.       Defendant has, therefore, violated Fla. Stat. §§ 559.72(9) and/or (10), and as a result

 Plaintiff and the FCCPA Class are entitled to actual damages, statutory damages of up to $1,000,

 punitive damages, and attorneys’ fees.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Fridman, individually and on behalf of the Classes, prays for

 the following relief:

    a)        An order certifying this case as a class action on behalf of the Classes as defined

 above, and appointing Plaintiff as the representative of the Classes and his counsel as Class

 Counsel;

    b)        An award of actual damages, statutory damages, punitive damages, attorneys’ fees,

 and costs;




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    c)       An order declaring that Defendant’s actions, as set out above, violate the TCPA and

 FCCPA.

    d)       An injunction requiring Defendant to cease all false and unsolicited text messaging

 activity, and to otherwise protect the interests of the Classes; and

    e)       Such further and other relief as the Court deems necessary.

                                       JURY TRIAL DEMAND

         Plaintiff requests a jury trial on all claims.

         Dated: May 1, 2019                       /s/ Avi Kaufman
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                                                  and all others similarly situated




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